          Case 16-61263-can7                          Doc 30          Filed 01/20/17 Entered 01/20/17 15:51:22                    Desc Main
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 Fill in this information to identify the case:

 Debtor name         Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)         16-61263
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Statement of Financial Affairs

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 20, 2017                        X /s/ Lexie Grisham
                                                                       Signature of individual signing on behalf of debtor

                                                                       Lexie Grisham
                                                                       Printed name

                                                                       Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Grisham Farms Transportation, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF MISSOURI                                                                                 Check if this is an

 Case number (if known):                16-61263                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Anthem BCBS MO                                                                                                                                                         $122,782.26
 Group
 PO Box 105183
 Atlanta, GA 30348
 Bank of America                                                                                                                                                          $26,117.41
 PO Box 15796
 Wilmington, DE
 19886-5796
 Certified                                                                                                                                                              $158,358.19
 Laboratories
 23261 Network
 Place
 Chicago, IL
 60673-1232
 Cindy Cottengim,                                                                                                                                                         $57,323.27
 Collector of
 Revenue
 Wright County
 Courthouse
 P.O. Box 9
 Hartville, MO 65667
 D.O.C. Lubrication                                                                                                                                                       $64,957.38
 Specialists
 P.O. Box 641
 Springfield, MO
 65801
 Empire Energy                                                                                                                                                          $569,119.59
 PO Box 7500
 Branson, MO 65615
 FSI Farm Service,                                                                                                                                                        $48,341.19
 Inc.
 PO Box 249
 Hoxie, AR 72433
 Hazemag USA Inc                                                                                                                                                          $11,279.21
 PO Box 1064
 Uniontown, PA
 15401


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Grisham Farms Transportation, LLC                                                                  Case number (if known)         16-61263
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Michelin North                                                                                                                                                           $18,217.12
 America, Inc.
 PO Box 100860
 Atlanta, GA
 30384-0860
 Missouri                                                                                                                                                               $150,000.00
 Department of
 Revenue
 PO Box 3375
 Jefferson City, MO
 65105-3375
 Missouri Employers                                                                                                                                                       $25,000.00
 Mutual Insurance
 PO Box 1810
 Columbia, MO 65208
 Mtn Grove Truck                                                                                                                                                          $12,850.50
 Lube & Wash LLC
 8915 Business 60
 Mountain Grove, MO
 65711
 Norwood AMPM                                                                                                                                                             $12,150.60
 741 St. Hwy E.
 Norwood, MO 65717
 Ozark Machinery                                                                                                                                                          $12,522.82
 10399 Co Rd 8270
 West Plains, MO
 65775
 Ozark Mountain                                                                                                                                                         $280,809.16
 Energy Inc
 1150 E. Industrial
 Dr.
 PO Box 391
 Mount Vernon, MO
 65712
 Ozarko Tire Centers                                                                                                                                                      $38,147.85
 Inc
 PO Box 1087
 West Plains, MO
 65775
 Potter Parts and AG                                                                                                                                                      $14,459.16
 Supply
 332 West 3rd
 Mountain Grove, MO
 65711
 Regions Insurance                                                                      Disputed                                                                          $36,852.92
 Inc                                                                                    Subject to
 1465 E. Joyce Blvd                                                                     Setoff
 Suite 205
 Fayetteville, AR
 72703




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Grisham Farms Transportation, LLC                                                                  Case number (if known)         16-61263
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 The Larson Group                                                                       Disputed                                                                        $142,942.11
 PO Box 802753
 Kansas City, MO
 64180
 Tri-Lakes Petroleum                                                                                                                                                    $248,572.38
 Company LLC
 943 East Highway
 76
 PO Box 7500
 Branson, MO 65615




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
 In re      Grisham Farms Transportation, LLC                                                                         Case No.       16-61263
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Annabelle Grisham                                                                                                               25.50 % Membership Interest
 7335 Newkirk Road
 Mountain Grove, MO 65711

 Lexie Grisham                                                                                                                   25.50 Membership Interest
 7335 Newkirk Raod
 Mountain Grove, MO 65711

 Rick Grisham                                                                                                                    49 % Membership interest
 7334 Newkirk Road
 Mountain Grove, MO 65711


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 20, 2017                                                       Signature /s/ Lexie Grisham
                                                                                            Lexie Grisham

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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 Fill in this information to identify the case:

 Debtor name            Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF MISSOURI

 Case number (if known)               16-61263
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           467,167.64

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           467,167.64


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       12,195,203.02


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,174,996.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,370,199.70




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)         16-61263
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Great Southern Bank                                     checking                        1892                                  $149,000.00




           3.2.     First Home Savings                                      checking                                                                $20,000.00




           3.3.     Bank of Missouri                                        checking                                                                         $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $169,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Grisham Farms Transportation, LLC                                                     Case number (If known) 16-61263
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            120,883.74      -                                    0.00 = ....                 $120,883.74
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                               157,283.90      -                                   0.00 =....                   $157,283.90
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                  $278,167.64
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used    Current value of
                                                      physical inventory            debtor's interest          for current value        debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Spare parts, tires                                                                 $20,000.00                                          $20,000.00



 23.       Total of Part 5.                                                                                                                   $20,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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 Debtor         Grisham Farms Transportation, LLC                                             Case number (If known) 16-61263
                Name



 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks, filing cabinets                                                       $1,500.00                                                 $0.00



 40.       Office fixtures
           Printers                                                                       $200.00                                                 $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers                                                                    $1,000.00                                                 $0.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See attached listing of vehicles                              $5,286,780.00                                            Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Grisham Farms Transportation, LLC                                            Case number (If known) 16-61263
                Name



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                             $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor          Grisham Farms Transportation, LLC                                                                   Case number (If known) 16-61263
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $169,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $278,167.64

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $20,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $467,167.64           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $467,167.64




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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                                                                                                        How value was
         Type of Property                              VIN                         Value                 determined
Automobiles, trucks, trailers, and other
      vehicles and accessories
        2015 Peterbilt Semi                  1XPBDP9X1FD247114                             $85,000.00      Retail
        1999 Peterbilt Semi                  1XPCDR9X7XD187253                              $5,000.00   Auction price
       2000 Freightliner Semi                 1FUYFSE2EB2YLG913                             $3,100.00   Auction price
        1995 Peterbilt Semi                  1XPCDR9XXSD376480                              $6,500.00   Auction price
     1990 Peterbilt Rolloff Truck             1XPA20X7LN296032                              $8,300.00   Auction price
       1999 Freightliner Semi                  1FUYDZB2SP554175                             $5,000.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG21LJ16709                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CGX1LJ16716                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CGX1LJ16697                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG61LJ16731                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG81LJ16701                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG31LJ16718                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG31LJ16699                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG61LJ16728                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG81LJ16729                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG41LJ16730                             $9,700.00   Auction price
       2001 Freightliner Semi                 1FUJA6CG21LJ16709                             $9,700.00   Auction price
       2006 Freightliner Semi                 1FUJA6CK46PU87701                             $5,600.00   Auction price
     2007 Sterling Rolloff Truck             2FWBA2CG27AX16410                             $10,000.00   Auction price
       2006 Freightliner Semi                 1FUJA6CK76PV70863                             $5,600.00   Auction price
        2014 Peterbilt Semi                  1XPBDP9X5ED243324                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X1ED243322                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9XXED243321                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X3ED243323                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X7ED243325                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X9ED243326                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X0ED243327                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X2ED243328                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X4ED243329                             $60,000.00      Retail
        2014 Peterbilt Semi                  1XPBDP9X0ED243330                             $60,000.00      Retail
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2014 Peterbilt Semi              1XPBDP9X2ED243331                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X4ED243332                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X6ED243333                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X8ED243334                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9XXED243335                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X1ED243336                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X3ED243337                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X5ED243338                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X7ED243339                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X3ED243340                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X5ED243341                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X7ED243342                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X9ED243343                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X0ED243344                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X2ED243345                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X4ED243346                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X6ED243347                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X8ED243348                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9XXED243349                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X6ED243350                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X8ED243351                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9XXED243352                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X1ED243353                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X3ED243354                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X5ED243355                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X7ED243356                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X3ED243371                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X1ED243384                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X7ED243373                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X9ED243374                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X0ED243375                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X2ED243360                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X6ED243378                           $60,000.00      Retail
2014 Peterbilt Semi              1XPBDP9X8ED243379                           $60,000.00      Retail
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  2014 Peterbilt Semi               1XPBDP9X4ED243380                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X6ED243381                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X8ED243382                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9XXED243383                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X1ED243384                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X3ED243385                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X5ED243386                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X0ED243358                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X2ED243359                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X9ED243360                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X0ED243361                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X2ED243362                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X4ED243363                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X6ED243364                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X8ED243365                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9XXED243366                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X1ED243367                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X3ED243368                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X5ED243369                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X1ED243370                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X7ED243387                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X9ED243388                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X0ED243389                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDP9X7ED243390                          $60,000.00      Retail
  2014 Peterbilt Semi               1XPBDPB9XED243391                          $60,000.00      Retail
  2013 Peterbilt Semi               1NPTL70X3DD181161                          $60,000.00      Retail
  1998 Peterbilt Semi              1XPCDR9XXWN462226                            $5,000.00   Auction price
    1995 Ford Semi                  1FTXR82E6SVA47065                           $1,700.00   Auction price
   1997 Ford Truck                  1FDKE37L4VHB96587                           $1,400.00   Auction price
   1999 Ford Truck                  1FDNF20F1XEB56562                           $2,700.00   Auction price
1991 Great Dane Trailer            1GRAA0020MW029302                            $1,300.00   Auction price
1991 Great Dane Trailer            1GRAA0021MW024402                            $1,300.00   Auction price
 2002 Wabash Trailer                1JJV532W52L788471                           $5,900.00   Auction price
2000 Advantage Trailer              4EPAA3928YATA3043                           $5,000.00   Auction price
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2000 Advantage Trailer            4EPAA3926YATA3168                            $5,000.00   Auction price
1999 American Trailer             1A9DF4020XR368326                            $5,000.00   Auction price
1999 American Trailer             1A9DF4026XR368329                            $5,000.00   Auction price
2000 American Trailer             1A9DF4021YR368417                            $5,000.00   Auction price
1999 American Trailer             1A9DF4023XR368336                            $5,000.00   Auction price
  1997 Waker Trailer              1W9P45217VN001956                            $5,000.00   Auction price
  1997 Wilson Trailer            1W1MCF1W4VA224376                            $15,000.00   Auction price
 2003 Wabash Trailer               1JJV532W33L766812                           $5,000.00   Auction price
 2003 Wabash Trailer               1JJV533W33L766745                           $5,000.00   Auction price
 2003 Wabash Trailer               1JJV532W93L766877                           $5,000.00   Auction price
 2003 Wabash Trailer               1JJV532W93L766832                           $5,000.00   Auction price
 2003 Wabash Trailer               1JJV532W83L766899                           $5,000.00   Auction price
    1990 Stri Trailer              1S11E8287LD323508                           $2,500.00   Auction price
    1989 Stri Trailer               1S11E828XK315556                           $2,500.00   Auction price
 1986 Fruehauf Trailer            1H2V04829GC014658                            $1,700.00   Auction price
  1995 Walker Trailer             1W9S82AX8S0007115                            $1,700.00   Auction price
  1991 Walker Trailer            1W9P82025M1029596                             $1,700.00   Auction price
 1998 Wabash Trailer              1JJV482W2WL508107                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W4WL508108                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W6WL508109                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W4WL508111                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W2WL508110                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W8WL508113                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W6WL508112                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W1WL508115                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482WXWL508114                            $1,300.00   Auction price
 1998 Wabash Trailer               1JJV482W4XL572313                           $1,300.00   Auction price
 1999 Wabash Trailer               1JJV482W2XL572312                           $1,300.00   Auction price
   2007 East Trailer               1E1D1P3867RJ40698                           $2,500.00   Auction price
 1979 Fruehauf Trailer                 FWV455602                                 $600.00   Auction price
 1978 Fruehauf Trailer                 FWZ357902                                 $600.00   Auction price
 1982 Fruehauf Trailer            1H4D02934CF012307                              $500.00   Auction price
  1998 Dorsey Trailer             1DTV44Z24WA262166                            $1,300.00   Auction price
  1997 Dorsey Trailer             1DTV44Z23VA258317                            $1,300.00   Auction price
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  1997 Dorsey Trailer             1DTV44Z28VA252979                            $1,300.00   Auction price
  1997 Dorsey Trailer             1DTV44Z21VA258316                            $1,300.00   Auction price
  1995 Dorsey Trailer             1DTV14Z26TA243476                            $1,300.00   Auction price
 1999 Vantage Trailer             4EPAA3925XATA2477                           $12,000.00   Auction price
  1997 Dorsey Trailer             1DTV44Z27VA256182                            $1,300.00   Auction price
  1997 Dorsey Trailer             1DTV44Z29VA256183                            $1,300.00   Auction price
  1997 Dorsey Trailer             1DTV44Z25VA256181                            $1,300.00   Auction price
 1998 Vantage Trailer             4EPAA3925WATA2056                           $12,000.00   Auction price
1996 Homemade Trailer                  SCHPT510814                             $1,000.00   Auction price
 1998 Vantage Trailer             4EPAA3926WATA2048                           $12,000.00   Auction price
   1988 Theu Trailer               1TA114827J2211035                           $1,000.00   Auction price
    1994 Trail Trailer             1PT01JRH0R9008474                             $800.00   Auction price
 1998 Wabash Trailer              1JJV482WDWL508103                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W3WL508097                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W0WL508106                            $1,300.00   Auction price
   1993 Raven Trailer               1R1D0392PJ933381                           $7,800.00   Auction price
    1980 Sch Trailer                     2027A580                              $7,500.00   Auction price
   1977 Schm Trailer                    1485A9346                              $7,500.00   Auction price
    1980 Stec Trailer                   225801027                              $7,500.00   Auction price
    1977 Stec Trailer                    10676257                             $11,000.00   Auction price
    1977 Stec Trailer                     3177310                             $11,000.00   Auction price
 1998 Wabash Trailer              1JJV482W9WL508105                            $1,300.00   Auction price
 1998 Wabash Trailer              1JJV482W7WL508104                            $1,300.00   Auction price
  1988 Summit Trailer              1S8AD3621J0006745                           $5,000.00   Auction price
  1990 Summit Trailer              1S8AD302XL0007341                             $500.00   Auction price
  1985 Summit Trailer               1S8AD2828F005414                           $5,000.00   Auction price
  1985 Summit Trailer              1S8AD3526F0005745                           $5,000.00   Auction price
  1984 Summit Trailer              1S8AD2824E0005263                           $5,000.00   Auction price
  1985 Summit Trailer              1S8AD3124F0005491                           $5,000.00   Auction price
 2002 Wabash Trailer               1JJV532W52L788650                           $5,000.00   Auction price
    1993 Cleg Trailer             4E7AA37209AVA0256                            $5,000.00   Auction price
 2002 Wabash Trailer              1JJV532W12LL788600                           $5,000.00   Auction price
 2002 Wabash Trailer               1JJV532W32L788646                           $5,000.00   Auction price
   2002 Wanc Trailer               1JJV532W92L788585                           $5,000.00   Auction price
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 2002 Wabash Trailer                1JJV532W82L788559                           $5,000.00   Auction price
 2002 Wabash Trailer                1JJV532W52L788504                           $5,000.00   Auction price
 2002 Wabash Trailer                1JJV532W32L788517                           $5,000.00   Auction price
 2002 Wabash Trailer                1JJV532W22L788492                           $5,000.00   Auction price
 2002 Wabash Trailer                1JJV532W42L788493                           $5,000.00   Auction price
      1996 Trailer                 1G9B45205TG007664                                        Auction price
    1995 Ford Truck                1FTEX14N3SKA02796                                        Auction price
 1986 Summit Trailer                1S8AD3629G006095                                        Auction price
2006 Freightliner Semi             1FUJA6CK56PU01781                                        Auction price
2000 Freightliner Semi              1FUYFSEB2YLG91397                                       Auction price
2001 Freightliner Semi              1FUJA6CG01LJ16725                                       Auction price
   1989 Merc Trailer               1MT2P4325KH006283                                        Auction price
2005 Freightliner Semi              1FUJA6CK05LN06590                                       Auction price
   2006 Warr Trailer               1W9AC46366P347615                                        Auction price
 1999 Vantage Trailer              4EPAA3924YATA3170                           $12,000.00   Auction price
2001 Freightliner Semi              1FUJA6CG11LJ16703                           $9,700.00   Auction price
 1983 Walker Trailer               1W9P82029D1026409                            $8,500.00   Auction price
 1990 Wabash Trailer                1JJV482M5LL143464                           $1,300.00   Auction price
 2003 Wabash Trailer                1JJV532W03L831776                           $5,000.00   Auction price
 2003 Wabash Trailer                1JJV532W63L831572                           $5,000.00   Auction price
 2003 Wabash Trailer                1JJV532W93L831579                           $5,000.00   Auction price
 2003 Wabash Trailer                1JJV532W93L831291                           $5,000.00   Auction price
 2000 Vantage Trailer              4EPAA3925YATA3047                           $12,000.00   Auction price
   2011 Wilx Trailer              4WWMBF1A7B3616350                            $22,000.00   Auction price
 1999 Vantage Trailer              4EPAA382XXATA2717                           $12,000.00   Auction price
 1999 Vantage Trailer              4EPAA3922XATA2484                           $12,000.00   Auction price
 1999 Vantage Trailer              4EPAA3924XATA2745                           $12,000.00   Auction price
 1999 Vantage Trailer              4EPAA3924XATA2485                           $12,000.00   Auction price
 1999 Vantage Trailer              4EPAA3928XATA2652                           $12,000.00   Auction price
 1998 Vantage Trailer              4EPAA3925WATA1988                           $12,000.00   Auction price
  1995 Merrit Trailer               1MT2P432SH009070                           $15,000.00   Auction price
  1998 Wilson Trailer             1W1MCF1A7WB227305                            $15,000.00   Auction price
 1996 Timpte Trailer               1TDH42228TB090041                           $15,000.00   Auction price
 1995 Vantage Trailer              4EPAA3925SARA0690                           $12,000.00   Auction price
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1998 Vantage Trailer             4EPAA3927WARA2107                           $12,000.00   Auction price
1998 Timpte Trailer              1TDH42225WB093841                           $15,000.00   Auction price
1978 Summit Trailer                    536783141                              $5,000.00   Auction price
1978 Summit Trailer                    535783140                              $5,000.00   Auction price
1978 Summit Trailer                    553783158                              $5,000.00   Auction price
1997 Timpte Trailer              1TDH4222XVB092098                           $15,000.00   Auction price
  2004 Trail Trailer              1TKDS28244B067524                           $4,100.00   Auction price
  2005 Trail Trailer              1TKDS28255B098279                           $4,100.00   Auction price
  2005 Trail Trailer              1TKDS28235B098281                           $4,100.00   Auction price
  2005 Trail Trailer              1TKDS28275B098283                           $4,100.00   Auction price
  2005 Trail Trailer              1TKDS28235B098278                           $4,100.00   Auction price
  2005 Trail Trailer              1TKDS28265B108284                           $4,100.00   Auction price
  2005 Trail Trailer              1TKDS28264B067525                           $4,100.00   Auction price
  1998 Trav Trailer              1T91F3921W1247520                            $9,400.00   Auction price
  2005 Tsst Trailer               1T9DS28B251066705                                       Auction price
1998 Vantage Trailer             4EPAA3926WATA2079                           $12,000.00   Auction price
1999 Vantage Trailer             4EPAA3921XATA2489                           $12,000.00   Auction price
1998 Vantage Trailer             4EPAA3928WATA2066                           $12,000.00   Auction price
1999 Vantage Trailer             4EPAA3920XATA2483                           $12,000.00   Auction price
1998 Vantage Trailer             4EPAA3929WATA2058                           $12,000.00   Auction price
1998 Vantage Trailer             4EPAA392XWATA2053                           $12,000.00   Auction price
 2005 Viking Trailer             1V9PD42295N062838                            $1,600.00   Auction price
2000 Wabash Trailer               1JJV532W1YL623364                           $1,300.00   Auction price
 2000 Wanc Trailer                1JJV532W7YL623384                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532WXYL623380                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532W4YL623441                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532W4YL674342                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532WXY6623346                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532W5YL623321                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532W2YL623440                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532W6YL623327                           $5,000.00   Auction price
 1999 Wanc Trailer                1JJV532W6YL623294                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532W5YL623318                           $5,000.00   Auction price
 2000 Wanc Trailer                1JJV532W5YL623397                           $5,000.00   Auction price
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2000 Wanc Trailer                 1JJV532W4YL623410                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W3YL623351                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W4YL623360                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W6YL623361                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W6YL623392                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W2YL623342                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532WXYL623427                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W8YL623412                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W4YL623424                            $5,000.00   Auction price
2000 Wanc Trailer                 1JJV532W1YL674346                            $5,000.00   Auction price
1999 Wanc Trailer                 1JJV532W0YL623310                            $5,000.00   Auction price
2007 Warr Trailer                1W9AC46357P347817                             $5,000.00   Auction price
2006 Warr Trailer                1W9AC46366P347761                             $5,000.00   Auction price
2006 Warr Trailer                1W9AC463X6P347634                             $5,000.00   Auction price
 2009 Wilx Trailer              1W1MCF1A19B253631                             $15,000.00   Auction price
 2011 Wilx Trailer              4WWMBF1A1B3616330                             $15,000.00   Auction price
                                        TOTAL                              $5,286,700.00
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 Fill in this information to identify the case:

 Debtor name         Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)             16-61263
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bank of Mansfield                              Describe debtor's property that is subject to a lien               $2,113,122.57                  Unknown
       Creditor's Name                                Secured by Trucks, Trailers & Equipment
       a/k/a HomePride Bank
       110 E. Commercial
       Mansfield, MO 65704
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Internal Revenue Service                       Describe debtor's property that is subject to a lien               $1,100,000.00                  Unknown
       Creditor's Name

       PO Box 804525
       Cincinnati, OH 45280-4525
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       Grisham Farms Transportation, LLC                                                        Case number (if know)      16-61263
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Stearns Bank, NA                               Describe debtor's property that is subject to a lien                      $82,080.45       Unknown
       Creditor's Name                                Secured by trailers (10) 2002 Wabash Trailers
                                                      and (2) 1991 Great Dane Trailers
       PO Box 750
       Albany, MN 56307
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   The Bank of Missouri                           Describe debtor's property that is subject to a lien                 $8,800,000.00         Unknown
       Creditor's Name                                Secured by Truck/Tractors (70) 2014 Peterbilt
       800 State Hwy 248                              Truck/Tractor and (1) 2013 Peterbilt
       Suite C                                        Truck/Tractor
       Branson, MO 65616
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Wells Fargo Equipment
 2.5                                                                                                                           $100,000.00       Unknown
       Finance                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                Secured by (1) 2015 Peterbilt Truck/Tractor-
                                                      VIN 1XPBD9X1FD247114
       PO Box 1450
       Minneapolis, MN 55485
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
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 Debtor       Grisham Farms Transportation, LLC                                                        Case number (if know)       16-61263
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $12,195,203.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         02

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)           16-61263
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,962.34
           AA Wheel & Truck Supply, Inc.                                        Contingent
           1419 North Belcrest                                                  Unliquidated
           Springfield, MO 65802                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,552.56
           Accellos                                                             Contingent
           Dept CH 16991                                                        Unliquidated
           Palatine, IL 60055-6691                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,507.65
           Airgas USA, LLC                                                      Contingent
           P.O. Box 532609                                                      Unliquidated
           Atlanta, GA 30353                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $122,782.26
           Anthem BCBS MO Group                                                 Contingent
           PO Box 105183                                                        Unliquidated
           Atlanta, GA 30348                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




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              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $430.74
          Ark-Mo Welding                                                        Contingent
          P.O. Box 249                                                          Unliquidated
          Portia, AR 72457                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,117.41
          Bank of America                                                       Contingent
          PO Box 15796                                                          Unliquidated
          Wilmington, DE 19886-5796                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $49.29
          Blue Line Rental                                                      Contingent
          P.O. Box 840062                                                       Unliquidated
          Dallas, TX 75284-0062                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,145.59
          BP Business Solutions                                                 Contingent
          P.O. Box 70995                                                        Unliquidated
          Charlotte, NC 28272-0995                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000.00
          Business Card                                                         Contingent
          PO Box 15796                                                          Unliquidated
          Wilmington, DE 19886-5796                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,125.00
          Central Power Systems & Services Inc.                                 Contingent
          P.O. Box 877625                                                       Unliquidated
          Kansas City, MO 64187-7625                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $158,358.19
          Certified Laboratories                                                Contingent
          23261 Network Place                                                   Unliquidated
          Chicago, IL 60673-1232                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,323.27
          Cindy Cottengim, Collector of Revenue                                 Contingent
          Wright County Courthouse                                              Unliquidated
          P.O. Box 9                                                            Disputed
          Hartville, MO 65667
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,957.38
          D.O.C. Lubrication Specialists                                        Contingent
          P.O. Box 641                                                          Unliquidated
          Springfield, MO 65801                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,303.59
          Detco                                                                 Contingent
          PO Box 430                                                            Unliquidated
          Conway, AR 72033                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $617.58
          Don Vance Ford                                                        Contingent
          Hwy 38 West                                                           Unliquidated
          PO Box 617                                                            Disputed
          Marshfield, MO 65706
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,419.60
          Douglass Steel LLC                                                    Contingent
          11267 Dunn Dirve                                                      Unliquidated
          Mountain Grove, MO 65711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $569,119.59
          Empire Energy                                                         Contingent
          PO Box 7500                                                           Unliquidated
          Branson, MO 65615                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,025.56
          Fleet Pride                                                           Contingent
          PO Box 847118                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,341.19
          FSI Farm Service, Inc.                                                Contingent
          PO Box 249                                                            Unliquidated
          Hoxie, AR 72433                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,306.75
          Guardian                                                              Contingent
          PO Box 677458                                                         Unliquidated
          Dallas, TX 75267-7458                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,279.21
          Hazemag USA Inc                                                       Contingent
          PO Box 1064                                                           Unliquidated
          Uniontown, PA 15401                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,249.54
          I-44 Truck Center & Wrecker Service                                   Contingent
          705 N. Service Rd West                                                Unliquidated
          Saint Clair, MO 63077                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $57.52
          Illinois Dept of Employment Security                                  Contingent
          PO Box 19300                                                          Unliquidated
          Springfield, IL 62794-9300                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,900.77
          Imperial Supplies LLC                                                 Contingent
          PO Box 23910                                                          Unliquidated
          Green Bay, WI 54305-3910                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,360.38
          J & P Flash Inc                                                       Contingent
          PO Box 2168                                                           Unliquidated
          West Memphis, AR 72303                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Grisham Farms Transportation, LLC                                                       Case number (if known)            16-61263
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $85.76
          Jenkins Diesel Power, Inc.                                            Contingent
          1845 East Blaine                                                      Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          John Fabick Tractor Co                                                Contingent
          PO Box 952121                                                         Unliquidated
          Saint Louis, MO 63195                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,290.00
          Liberty Technical Solutions LLC                                       Contingent
          4852 Prairie Branch Road                                              Unliquidated
          Mansfield, MO 65704                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $378.47
          Loves Tire Care #292                                                  Contingent
          #292 12 W. Northbrook Dr                                              Unliquidated
          Dwight, IL 60420                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $509.04
          Maximum Diesel Service                                                Contingent
          943 Lawrence Rd 210                                                   Unliquidated
          Black Rock, AR 72415                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,920.56
          MFA Oil Mansfield 1046                                                Contingent
          Mansfield 1046                                                        Unliquidated
          1460 E. Clinton Rd                                                    Disputed
          Seymour, MO 65746
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,474.18
          MHC Kenworth Cabool                                                   Contingent
          915-A Shelton Drive                                                   Unliquidated
          Cabool, MO 65689                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Grisham Farms Transportation, LLC                                                       Case number (if known)            16-61263
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,217.12
          Michelin North America, Inc.                                          Contingent
          PO Box 100860                                                         Unliquidated
          Atlanta, GA 30384-0860                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $903.49
          Mike's Tire Service                                                   Contingent
          PO Box 962                                                            Unliquidated
          Imboden, AR 72434                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $184.20
          Miller Electric & Plumbing Supplies                                   Contingent
          613 W 3rd St                                                          Unliquidated
          Mountain Grove, MO 65711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Missouri Department of Revenue                                        Contingent
          PO Box 3375                                                           Unliquidated
          Jefferson City, MO 65105-3375                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Missouri Employers Mutual Insurance                                   Contingent
          PO Box 1810                                                           Unliquidated
          Columbia, MO 65208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,850.50
          Mtn Grove Truck Lube & Wash LLC                                       Contingent
          8915 Business 60                                                      Unliquidated
          Mountain Grove, MO 65711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $127.61
          National Fastener Corporation                                         Contingent
          PO Box 27391                                                          Unliquidated
          Omaha, NE 68127                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,150.60
          Norwood AMPM                                                          Contingent
          741 St. Hwy E.                                                        Unliquidated
          Norwood, MO 65717                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,587.56
          O'Reilly Auto Parts                                                   Contingent
          PO Box 9464                                                           Unliquidated
          Springfield, MO 65801-9464                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,522.82
          Ozark Machinery                                                       Contingent
          10399 Co Rd 8270                                                      Unliquidated
          West Plains, MO 65775                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $280,809.16
          Ozark Mountain Energy Inc                                             Contingent
          1150 E. Industrial Dr.                                                Unliquidated
          PO Box 391                                                            Disputed
          Mount Vernon, MO 65712
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $125.00
          Ozark Utility                                                         Contingent
          3650 East Evergreen                                                   Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,147.85
          Ozarko Tire Centers Inc                                               Contingent
          PO Box 1087                                                           Unliquidated
          West Plains, MO 65775                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Ozarks Medical Center                                                 Contingent
          PO Box 1100                                                           Unliquidated
          West Plains, MO 65775                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 11
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 Debtor       Grisham Farms Transportation, LLC                                                       Case number (if known)            16-61263
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,769.44
          PeopleNet Communications Corporation                                  Contingent
          PO Box 203673                                                         Unliquidated
          Dallas, TX 75320-2673                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $599.74
          Peterbilt of Springfield Inc                                          Contingent
          3026 N. Mulroy Road                                                   Unliquidated
          Strafford, MO 65757                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,459.16
          Potter Parts and AG Supply                                            Contingent
          332 West 3rd                                                          Unliquidated
          Mountain Grove, MO 65711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $895.58
          Prier Tire Supply Inc.                                                Contingent
          27524 State Hwy J                                                     Unliquidated
          Golden, MO 65658                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Products Plus, Inc.                                                   Contingent
          PO Box 1696                                                           Unliquidated
          Ozark, MO 65721                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,795.43
          Purcell Tire & Rubber Company                                         Contingent
          1740 E. Commercial St                                                 Unliquidated
          Attn Steve                                                            Disputed
          Springfield, MO 65803
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,852.92
          Regions Insurance Inc                                                 Contingent
          1465 E. Joyce Blvd                                                    Unliquidated
          Suite 205
                                                                                Disputed
          Fayetteville, AR 72703
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Grisham Farms Transportation, LLC                                                       Case number (if known)            16-61263
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $219.53
          Scrivner Oil Co. Inc.                                                 Contingent
          2415 S. Campbell                                                      Unliquidated
          Springfield, MO 65807                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $272.89
          Shamrock Bolt and Screw Co Inc                                        Contingent
          3731 Wheeler Avenue                                                   Unliquidated
          Fort Smith, AR 72901                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,187.63
          Shannon Heating & Cooling Inc                                         Contingent
          8693 Outer Rd                                                         Unliquidated
          PO Box 811                                                            Disputed
          Mountain Grove, MO 65711
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,986.16
          Springfield Freightliner Sales                                        Contingent
          PO Box 418050                                                         Unliquidated
          Attn: Ryan Westfall                                                   Disputed
          Kansas City, MO 64141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,875.00
          Springfield Special Products                                          Contingent
          2045 N. National Ave                                                  Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,027.21
          Springfield Tractor & Trailer                                         Contingent
          3380 Singer Avenue                                                    Unliquidated
          Springfield, IL 62703                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $195.02
          Springfield Trailer Inc                                               Contingent
          2929 E. Blaine                                                        Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Grisham Farms Transportation, LLC                                                       Case number (if known)            16-61263
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,922.46
          Stainless Steel Tanks                                                 Contingent
          831 Hwy NN                                                            Unliquidated
          Saint Mary, MO 63673                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $142,942.11
          The Larson Group                                                      Contingent
          PO Box 802753                                                         Unliquidated
          Kansas City, MO 64180
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $248,572.38
          Tri-Lakes Petroleum Company LLC                                       Contingent
          943 East Highway 76                                                   Unliquidated
          PO Box 7500                                                           Disputed
          Branson, MO 65615
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $70.00
          Triangle Trucking Corp.                                               Contingent
          PO Box 7                                                              Unliquidated
          3614 W. Arrow                                                         Disputed
          Marshall, MO 65340
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $928.08
          Truck Parts & Supply Co                                               Contingent
          4005 Kearney                                                          Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,524.56
          Trux Trailer and Tractor Repair Inc                                   Contingent
          900 Northwest Bypass                                                  Unliquidated
          Springfield, MO 65802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,529.33
          Unifirst Corporation                                                  Contingent
          2244 N. Bolivar Rd                                                    Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Grisham Farms Transportation, LLC                                                       Case number (if known)            16-61263
              Name

 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,086.63
           US Auto Force                                                        Contingent
           7984 Solution Center                                                 Unliquidated
           Chicago, IL 60677                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,831.72
           Wiese USA                                                            Contingent
           PO Box 60106                                                         Unliquidated
           Saint Louis, MO 63160                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,076.82
           Wilson Trailer Sales                                                 Contingent
           9051 E. 1-70 Drive NE                                                Unliquidated
           Columbia, MO 65202                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     2,174,996.68

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        2,174,996.68




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 Fill in this information to identify the case:

 Debtor name         Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)         16-61263
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)         16-61263
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Annabelle                         7335 Newkirk Road                                  The Bank of Missouri              D   2.4
             Grisham                           Mountain Grove, MO 65711                                                             E/F
                                                                                                                                    G




    2.2      Annabelle                         7335 Newkirk Road                                  The Larson Group                  D
             Grisham                           Mountain Grove, MO 65711                                                             E/F       3.62
                                                                                                                                    G




    2.3      Annabelle                         7335 Newkirk Road                                  Bank of Mansfield                 D   2.1
             Grisham                           Mountain Grove, MO 65711                                                             E/F
                                                                                                                                    G




    2.4      Lexie Grisham                     7335 Newkirk Road                                  The Bank of Missouri              D   2.4
                                               Mountain Grove, MO 65711                                                             E/F
                                                                                                                                    G




    2.5      Lexie Grisham                     7335 Newkirk Road                                  The Larson Group                  D
                                               Mountain Grove, MO 65711                                                             E/F       3.62
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       Grisham Farms Transportation, LLC                                              Case number (if known)   16-61263


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Lexie Grisham                     7335 Newkirk Road                                  Bank of Mansfield               D   2.1
                                               Mountain Grove, MO 65711                                                           E/F
                                                                                                                                  G




    2.7      Rick Grisham                      7334 Newkirk Road                                  The Bank of Missouri            D   2.4
                                               Mountain Grove, MO 65711                                                           E/F
                                                                                                                                  G




    2.8      Rick Grisham                      7334 Newkirk Road                                  The Larson Group                D
                                               Mountain Grove, MO 65711                                                           E/F       3.62
                                                                                                                                  G




    2.9      Rick Grisham                      7334 Newkirk Road                                  Bank of Mansfield               D   2.1
                                               Mountain Grove, MO 65711                                                           E/F
                                                                                                                                  G




Official Form 206H                                                            Schedule H: Your Codebtors                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Grisham Farms Transportation, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)         16-61263
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $6,610,246.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $12,877,441.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $15,895,742.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Grisham Farms Transportation, LLC                                                         Case number (if known) 16-61263



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached listing                                                                        $628,027.93                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    The Larson Group v. Grisham                       Suit on                    Wright County Missouri                         Pending
               Farms Transportation, LLC,                        Promissory NOte            Circuit Court                                  On appeal
               Lexie Grisham, Rick Grisham                                                  44th Judicial Circuit
                                                                                                                                           Concluded
               & Annabelle Grisham                                                          125 Court Street
               16WR-CC00025                                                                 Hartville, MO 65667


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

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 Debtor        Grisham Farms Transportation, LLC                                                            Case number (if known) 16-61263




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.    McDowell Rice Smith &
                Buchanan, P.C.
                605 W. 47th Street, Suite 350
                Kansas City, MO 64112                                                                                          12/14/2016            $25,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange              was made                        value

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 Debtor      Grisham Farms Transportation, LLC                                                          Case number (if known) 16-61263



 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Grisham Farm Products 401k Plan, Inc.                                                      EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred




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                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    See attached listing 10-18                       XXXX-                       Checking                                                      $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?


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 Debtor      Grisham Farms Transportation, LLC                                                          Case number (if known) 16-61263



            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Shanna Wilson                                                                                                              2015 & 2016
                    4699 Spence School Road
                    Norwood, MO 65717
       26a.2.       Cindy McGraw                                                                                                               2015 & 2016
                    7310 Newkirk Road
                    Mountain Grove, MO 65711
       26a.3.       Annabelle Grisham                                                                                                          2015 & 2016
                    7335 Newkirk Road
                    Mountain Grove, MO 65711
       26a.4.       Cheri Grisham                                                                                                              2015 & 2016
                    7334 Newkirk Road
                    Mountain Grove, MO 65711

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       BKD, LLP                                                                                                                   2015 & 2016
                    910 E. St. Louis Street
                    PO Box 1190
                    Springfield, MO 65801

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None


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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       BKD, LLP
                    910 E. St. Louis Street
                    PO Box 1190
                    Springfield, MO 65801

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Bank of Mansfield
                    110 E. Commercial
                    Mansfield, MO 65704
       26d.2.       Bank of Missouri
                    1313 State Hwy 248
                    Branson, MO 65616

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lexie Grisham                                  7335 Newkirk Road                                   Member                                25.50
                                                      Mountain Grove, MO 65711

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Rick Grisham                                   7334 Newkirk Road                                   Member                                49.00
                                                      Mountain Grove, MO 65711

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Annabelle Grisham                              7335 Newkirk Road                                   Member                                25.50
                                                      Mountain Grove, MO 65711



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.
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 Debtor      Grisham Farms Transportation, LLC                                                          Case number (if known) 16-61263




               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Grisham Farm Products 401k Plan, Inc.                                                                      EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 20, 2017

 /s/ Lexie Grisham                                                       Lexie Grisham
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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Part 10 ‐ 18
Certain Financial Acct
                         Financial Institution                                  Address                  Type of Acct   Date moved, closed   Last balance
Home Pride Bank                                              110 E Commercial St Mansfield, Mo 65704       checking           16‐Jul               0
                     Great Southern Bank                        100 E 19th St Mountain Grove, Mo 65711     checking         12/1/2016              0
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    Exhibit 3B
 Form of Payment                    Name of Creditor                           Address of Creditor              Date of Payment          Amount Paid
40005              Advantage Trailer Leasing                            PO Box 1444 St Peters, MO 63376                     12/06/2016          2,836.00
40202              Advantage Trailer Leasing                            PO Box 1444 St Peters, MO 63376                     12/12/2016          5,050.00
40357              Advantage Trailer Leasing                            PO Box 1444 St Peters, MO 63376                     12/16/2016          2,836.00
40360              Advantage Trailer Leasing                            PO Box 1444 St Peters, MO 63376                     12/16/2016          7,075.80
30005              Allison Trucking Inc.                             815 NW 3rd St Walnut Ridge, AR 72476                   11/17/2016            26.00
30006              Allison Trucking Inc.                             815 NW 3rd St Walnut Ridge, AR 72476                   11/17/2016          5,052.70
30007              Allison Trucking Inc.                             815 NW 3rd St Walnut Ridge, AR 72476                   11/17/2016          5,731.20
30178              Allison Trucking Inc.                             815 NW 3rd St Walnut Ridge, AR 72476                   11/25/2016          5,049.35
30179              Allison Trucking Inc.                             815 NW 3rd St Walnut Ridge, AR 72476                   11/25/2016          2,181.00
30318              Anthem BCBS MO Group                                PO Box 105183 Atlanta, GA 30348                      11/30/2016         30,295.79
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   09/22/2016          3,020.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   10/03/2016          3,020.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   10/07/2016          5,020.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   10/12/2016          5,020.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   10/28/2016          2,520.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   11/04/2016          2,020.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   11/14/2016          3,030.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   11/23/2016          5,035.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   12/01/2016          5,030.00
eft                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   12/15/2016          5,015.00
EFT                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   09/22/2016          5,020.00
EFT                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   09/26/2016          5,020.00
EFT                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   10/20/2016          3,020.00
EFT                Comdata                                          5301 Maryland Way Brentwood, TN 37027                   11/08/2016          3,020.00
30146              Cyberg Ag                                        2016 Clay St North Kansas City, MO 64116                11/22/2016         23,750.00
30129              D.O.C. Lubrication Specialists                      PO Box 641 Springfield, Mo 65801                     11/18/2016          2,901.35
30294              D.O.C. Lubrication Specialists                      PO Box 641 Springfield, Mo 65801                     11/28/2016          3,784.32
40201              D.O.C. Lubrication Specialists                      PO Box 641 Springfield, Mo 65801                     12/12/2016          2,719.48
1011               Decatur Towing                                        8736 AR‐59 Decatur, AR 72722                       10/27/2016          6,987.50
30321              Donna Williams                                                                                           11/30/2016          4,234.60
40052              Donna Williams                                                                                           12/08/2016          4,234.60
30319              Empire Energy                                        PO Box 7500 Branson, Mo 65615                       11/30/2016         15,644.26
30320              Empire Energy                                        PO Box 7500 Branson, Mo 65615                       11/30/2016          3,151.45
40205              Empire Energy                                        PO Box 7500 Branson, Mo 65615                       12/12/2016         15,805.26
40353              Empire Energy                                        PO Box 7500 Branson, Mo 65615                       12/16/2016         13,302.93
30295              FCS Financial                                    1360 N Lexington Ave Marshall, MO 65340                 11/28/2016          6,034.96
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30296   FCS Financial                                    1360 N Lexington Ave Marshall, MO 65340                11/28/2016     896.45
30149   FSI Farm Service, Inc.                                 PO Box 249 Hoxie, AR 72433                       11/23/2016    3,430.67
30327   FSI Farm Service, Inc.                                 PO Box 249 Hoxie, AR 72433                       12/01/2016    3,098.01
40224   FSI Farm Service, Inc.                                 PO Box 249 Hoxie, AR 72433                       12/15/2016    3,098.01
40356   FSI Farm Service, Inc.                                 PO Box 249 Hoxie, AR 72433                       12/16/2016    3,096.97
1010    FSI Farm Service, Inc.                                 PO Box 249 Hoxie, AR 72433                       10/26/2016    5,000.00
eft     Grisham Farm Products, Inc                      7364 Newkirk Rd Mountain Grove, Mo 65711                10/26/2016   28,000.00
EFT     Grisham Farm Products, Inc                      7364 Newkirk Rd Mountain Grove, Mo 65711                09/20/2016    2,000.00
1009    Grisham Farm Products, Inc                      7364 Newkirk Rd Mountain Grove, Mo 65711                10/18/2016   16,000.00
30004   Grisham Farm Products, Inc                      7364 Newkirk Rd Mountain Grove, Mo 65711                11/17/2016   44,309.90
30282   Henderson Feed & Grain                                PO Box 584 Buffalo, MO 65622                      11/25/2016    2,521.00
30324   Henderson Feed & Grain                                PO Box 584 Buffalo, MO 65622                      11/30/2016    2,528.00
40057   Henderson Feed & Grain                                PO Box 584 Buffalo, MO 65622                      12/08/2016    5,049.00
eft     IRS-941                                                                                                 11/25/2016   18,457.78
eft     Mcdowell, Smith, Rice                           605 W 47th St # 350 Kansas City, MO 64112               12/14/2016   25,000.00
30310   Nationwide                                         PO Box 37712 Philadelphia, PA 19101                  11/29/2016    5,701.80
40193   Norwood AMPM                                        741 St Hwy E Norwood, Mo 65717                      12/15/2016   16,912.10
30136   Ozark Mountain Energy, Inc.                         PO Box 391 Mt. Vernon, MO 65712                     11/21/2016   16,800.56
40217   Ozark Mountain Energy, Inc.                         PO Box 391 Mt. Vernon, MO 65712                     12/14/2016   18,000.00
30037   Ozark Mountain Energy, Inc.                         PO Box 391 Mt. Vernon, MO 65712                     11/18/2016   16,400.00
30284   Ozark Mountain Energy, Inc.                         PO Box 391 Mt. Vernon, MO 65712                     11/28/2016   16,500.00
40178   Ozark Mountain Energy, Inc.                         PO Box 391 Mt. Vernon, MO 65712                     12/09/2016   18,000.00
30144   Ozarko Tire Centers, Inc.                          PO Box 1087 West Plains, MO 65775                    11/22/2016    2,758.73
30323   Ozarko Tire Centers, Inc.                          PO Box 1087 West Plains, MO 65775                    11/30/2016    2,907.95
40047   Ozarko Tire Centers, Inc.                          PO Box 1087 West Plains, MO 65775                    12/07/2016    2,499.50
40180   Ozarko Tire Centers, Inc.                          PO Box 1087 West Plains, MO 65775                    12/09/2016    2,942.95
40212   Ozarko Tire Centers, Inc.                          PO Box 1087 West Plains, MO 65775                    12/14/2016    2,481.50
30001   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/16/2016    2,000.16
30003   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/17/2016    1,408.03
30152   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/23/2016     431.13
30153   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/23/2016     558.88
30290   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/28/2016     730.38
30304   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/29/2016     533.24
30307   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/29/2016     582.94
30316   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/30/2016    2,927.48
30317   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 11/30/2016    1,510.68
40003   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 12/06/2016     199.60
40004   Peterbilt of Willow Springs                        713 Hill St Willow Springs, Mo 65793                 12/06/2016     704.73
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40181   Peterbilt of Willow Springs                       713 Hill St Willow Springs, Mo 65793                   12/09/2016            874.67
40206   Peterbilt of Willow Springs                       713 Hill St Willow Springs, Mo 65793                   12/12/2016          2,236.47
40211   Peterbilt of Willow Springs                       713 Hill St Willow Springs, Mo 65793                   12/13/2016            806.87
40218   Peterbilt of Willow Springs                       713 Hill St Willow Springs, Mo 65793                   12/14/2016            546.34
40350   Peterbilt of Willow Springs                       713 Hill St Willow Springs, Mo 65793                   12/16/2016          2,276.43
30049   Potter Parts And AG Supply                      322 West 3rd Mountain Grove, MO 65711                    11/18/2016          6,956.47
40225   Potter Parts And AG Supply                      322 West 3rd Mountain Grove, MO 65711                    12/15/2016          4,977.52
30002   Purcell Tire & Rubber Company                  1740 E Sommercial St Springfield, MO 65803                11/17/2016          1,422.51
30293   Purcell Tire & Rubber Company                  1740 E Sommercial St Springfield, MO 65803                11/28/2016          1,440.50
40002   Purcell Tire & Rubber Company                  1740 E Sommercial St Springfield, MO 65803                12/06/2016         10,992.30
40188   Purcell Tire & Rubber Company                  1740 E Sommercial St Springfield, MO 65803                12/12/2016          1,685.46
40222   Purcell Tire & Rubber Company                  1740 E Sommercial St Springfield, MO 65803                12/15/2016          2,443.18
40349   Purcell Tire & Rubber Company                  1740 E Sommercial St Springfield, MO 65803                12/16/2016            502.00
30300   The Bank of Missouri                             800 State Hwy 248 Branson, MO 65616                     11/29/2016         25,000.00
30148   Tri- Lakes Petroleum Company, LLC                   PO Box 7500 Branson, Mo 65615                        11/23/2016         15,523.16
40182   Tri- Lakes Petroleum Company, LLC                   PO Box 7500 Branson, Mo 65615                        12/09/2016         15,348.21
40183   Tri- Lakes Petroleum Company, LLC                   PO Box 7500 Branson, Mo 65615                        12/09/2016         15,523.16


                                                                                                         TOTAL                628,027.93
